thought it politic that the law should be as stated in the law authorities cited on the former argument, otherwise, a lessee might frequently be tempted to destroy the premises, in order to get clear of his bargain. The law as laid down in these authorities has the opposite tendency. Lessees have every inducement to take care of the premises, and none to injure them, when they must pay whether the premises are burnt down or not. The value of the rent is a loss that must fall somewhere upon the lessee if he pays, upon the lessor if he does not; and why should that loss fall upon the lessor, who is an innocent man, any more than upon the lessee, who is no better than one innocent man?
NOTE. — If a tenant covenant to build and leave in repair, and does build, but the houses are burned before the expiration of the term, equity will compel him either to rebuild or to pay the value of the buildings. Pasteur v. Jones, 1 N.C. 393.